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                                                          85132
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                 May 10, 2023

                 VIA ECF
                 Special Master The Hon. Thomas I. Vanaskie
                 Stevens & Lee
                 1500 Market Street, East Tower, 18th Floor
                 Philadelphia, PA 19103

                            Re:          In re Valsartan, Losartan, and Irbesartan Products Liability
                                         Litigation, No. 1:19-md-02875-RBK-SAK (D.N.J.)

                 Dear Judge Vanaskie:

                 Wholesaler Defendants respectfully submit this report as the Court directed on
                 April 26, 2023 regarding various discovery issues related to Plaintiffs’ sole
                 certified class claim against Wholesalers—unjust enrichment (“UE”),
                 including (1) Wholesalers’ production of certain pricing and profits-related
                 information; (2) Wholesalers’ requests for discovery of TPP Plaintiffs; and (3)
                 Plaintiffs’ request for “targeted” custodial discovery from Wholesalers. These
                 matters were the subject of CMO 32, and after discussion at the Case
                 Management Conference on April 26, 2023, the parties were ordered to further
                 meet and confer on these issues and then report progress to your honor within
   CLEVELAND
                 14 days.
    COLUMBUS

    CINCINNATI                Pricing and Profits-Related Information from Wholesalers
     CHICAGO

    NEW YORK     The discussion about discovery related to profits first began more than three
WASHINGTON DC
                 years ago and was extensively briefed and argued before Magistrate Judge
   BOCA RATON
                 Schneider, who in 2020 deferred a decision on these issues for a later time. See,
                 e.g., Dkt. 478 (Wholesalers’ Letter Briefing on Macro Discovery Issues); Dkt.
   ULMER.COM     510 (transcript of parties’ argument and Judge Schneider’s ruling from the
                 bench on profits discovery issues); Dkt. 507 (Order deferring discovery on
                 profits discovery issues).


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      With respect to pricing and profits-related discovery, the Court originally
      ordered Wholesalers to produce the following by May 30, 2023:

                   7.1.1 wholesalers’ costs and profits data for VCDs,
                   7.1.2 the prices wholesalers paid for VCDs, and
                   7.1.3 the prices wholesalers sold VCDs downstream.

      See CMO 32 at 4. As thoroughly explained in briefing and argument to the
      Court in 2019 and 2020, by letter brief on April 25, 2023 (Dkt. 2349), and at
      the April 26, 2023 Case Management Conference, Wholesalers in the ordinary
      course of business neither calculate nor maintain any sort of profit information
      on VCDs, either on an NDC product or individual transaction basis. As the
      Court noted, Wholesalers are not required to create such information for this
      litigation.1

      With respect to 7.1.2 and 7.1.3 of CMO 32, there is no dispute currently ripe
      for resolution by the Court. The parties agree that by May 30, 2023,
      Wholesalers will produce (1) the invoiced amounts for their VCD purchases
      from the Manufacturer Defendants for the NDCs at issue during the Relevant
      Period; and (2) the invoiced amounts with respect to VCD sales to the Retailer
      Defendants of the NDCs at issue during the Relevant Period. The parties
      discussed that Wholesalers anticipate completing the production on this
      timeline, but to the extent there are any complications, Wholesalers will confer
      with Plaintiffs to discuss a rolling production.

      With respect to 7.1.1 of CMO 32, Wholesalers and Plaintiffs met and conferred
      on April 25, 2023, April 28, 2023, and May 3, 2023. Wholesalers explained
      again that they do not in the ordinary course of business calculate or maintain
      “profits” on an NDC product or individual transaction basis. Similarly,
      reductions to revenue such as rebates, discounts, and returns, as well as costs


            1
              Wholesalers reserve all rights and objections to the propriety and scope
      of the discovery ordered by the Court in CMO 32.
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      and operating expenses, are not kept in the ordinary course of business on an
      NDC product or individual transaction basis.2

      Plaintiffs acknowledged the difficulty in compiling the “profits” information
      they seek, and are open to discussing a “proxy” method to attempt to estimate
      Wholesalers’ profits on the sales of VCDs at issue in the litigation. In order to
      even begin to create a methodology to approximate the information Plaintiffs
      seek, however, Wholesalers will need to identify and retain experts to analyze
      the issue. Wholesalers have been forthright with Plaintiffs that the process will
      be complicated and lengthy and may not even result in a reliable methodology.
      Nonetheless, Wholesalers are willing to attempt the process. Accordingly,
      Plaintiffs and Wholesalers have agreed that while they are preparing the
      production of the pricing information set forth above, the parties will attempt
      to outline a roadmap to a proxy calculation for profits information and will meet
      and confer following that production to attempt to agree on a way forward.

      Thus, there is no dispute currently ripe for resolution by the Court with respect
      to CMO 32 Section 7.1, and the parties will continue to confer and report back
      to the Court in 45 days on their progress in this regard.

                           Wholesalers’ Discovery to Plaintiffs

      Despite the referenced meet and confers, the parties have not been able to reach
      an agreement regarding Wholesalers’ discovery requests to Plaintiffs. The
      requests consist of a set of Requests for Production and a 30(b)(6) notice


            2
               As fully briefed for Judge Schneider, even if the “costs and profits”
      granular detail could be identified and extracted from the multiple current and
      legacy systems, it would entail identifying and retaining outside accounting
      experts, coupled with a herculean effort that could not be accomplished by May
      30, 2023, requiring hundreds, if not thousands, of employee and expert hours
      to create this information uniquely for this production—all to yield a result that
      would still likely be inaccurate.
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      addressed to the TPP Assignor class representatives and MSP. The draft
      requests have been provided to Plaintiffs.

      Because the 30(b)(6) notice in many ways tracks the topics of the Requests for
      Production, below is a brief summary of the six (6) topics of the discovery
      sought and the legal justification for the requests, each of which can be further
      addressed in the briefing requested herein by Wholesalers. Each topic is of core
      relevance to the essential elements of, damages for, or defenses/affirmative
      defenses to the sole remaining claim Plaintiffs bring against Wholesalers: the
      equitable claim of UE. Without this discovery, Wholesalers will be deprived of
      the opportunity to present a full defense to Plaintiffs’ sole remaining claim in
      their many subclass actions:

         1. Identification of transactions that involve Wholesalers: Whether
            analyzed under the rubric of the basic prima facie elements of UE, or
            Article III standing, Plaintiffs bear the burden to demonstrate that a
            specific Wholesaler was involved in any transaction for which Plaintiffs
            seek a remedy against such Wholesaler (the “Transactions”). In other
            words, it is axiomatic that for any transaction for which they seek to
            recover, Plaintiffs must prove that a specific Wholesaler sold the VCD
            and was enriched by the sale. Plaintiffs have repeatedly promised the
            Court that they possess and/or could determine which Wholesaler sold
            which VCDs, and that they would disclose the information at the
            appropriate time.3 Wholesalers submit that, to date, the TPP Plaintiffs
            3
               See, e.g., Dkt. 1614 at 12, fn. 9 (“Plaintiffs persuasively respond that
      they have alleged the unique National Drug Code (“NDC”) numbers for VCDs
      that they purchased, that the VCD numbers will enable identification of the
      wholesalers and retailers, and that discovery on this aspect of the case is
      continuing. Under these circumstances, dismissal of claims . . . simply because
      there is not a named Plaintiff who alleges buying VCDs from each . . .
      Wholesaler Defendant in that state would be premature.”) (emphasis added);
      Plaintiffs’ Reply Memorandum of Law in Further Support of their Motion for
      Leave to Amend Master Complaints, Dkt. 1382 at 13-14 (“Plaintiffs reviewed
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            have neither alleged nor disclosed any evidence of the involvement of
            even one Wholesaler in even one transaction covered by a TPP Class
            Representative or other TPP class member.

            Whether Plaintiffs’ plea for more time at the motion to dismiss and
            motion for leave to amend stages carried weight, the time has now come
            for Plaintiffs to identify and produce this “traceability” proof that would
            support the TPPs essential prima facie elements of UE, including sale of
            the product at issue, proximate cause, actual damage, and standing, or
            instead to respond to the Wholesaler discovery requests and
            acknowledge that they simply have no such information.

         2. Communications/contracts with Wholesalers: These requests seek a
            fundamental subject of discovery—dealings between the parties.
            Wholesalers are not aware of any such dealings, and it should be simple
            enough for Plaintiffs to respond: “none.” In the event there are any such
            documents (including in custodial files), Wholesalers will work with
            Plaintiffs on a reasonable approach to the targeted collection and
            production of those documents.

         3. Additional data fields for the Transactions: Wholesalers’ review of
            the claims/transaction data spreadsheets produced by the TPPs to date
            demonstrates that no data fields regarding Wholesalers have been
            produced, including, importantly, no field for amounts paid by TPPs to
            Wholesalers. Wholesalers, again, are not aware of any such payments,

      pharmacy records and the Defendant Fact Sheets provided by Wholesaler
      Defendants and have confirmed that each Wholesaler Defendant was
      responsible for distributing the batch of contaminated valsartan ultimately
      consumed by at least one named Plaintiff . . . . The Wholesaler Defendants’
      only dispute is that not every named Plaintiff identified the exact contaminated
      VCD unit that each Wholesaler Defendant distributed. This argument
      sidesteps the reality that the Plaintiffs’ allegations at this stage need not
      establish proof of proximate causation.”) (emphasis added).
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            and it should be simple enough for Plaintiffs to respond: “none.” In the
            event such data exists, however, it should not be burdensome to produce.
            Wholesalers will work with Plaintiffs on a reasonable approach to the
            collection and production of that data, should it be necessary.

         4. Proof of elements of UE: The requests under this topic seek information
            related to certain core essential elements of the UE claim—what
            Wholesalers actually did wrong, or what benefit they inappropriately
            retained, including: (1) the benefit Plaintiffs claim Wholesalers received
            (the retention of which would be unjust); (2) the entity from whom
            Wholesalers received such benefit; and (3) any specific actions by
            Wholesalers that misled Plaintiffs or constituted wrongdoing as to
            Plaintiffs. Wholesalers understand that Plaintiffs seek discovery of all of
            Wholesalers’ profits from all sales of the VCDs to downstream
            Defendants. But in order to carry their burden of proof on the equitable
            claim of UE, Plaintiffs must identify the Transactions in which they were
            involved, that involved a VCD sold by a particular Wholesaler (No. 1
            above), and then specify what portion of that transaction went from the
            TPPs to Wholesalers (presumably the benefit the TPPs provided that it
            would be unjust for Wholesalers to retain).4

            Additionally, because the applicable UE law of several states requires
            proof of some sort of misleading conduct or wrongdoing by Wholesalers
            as to the TPPs, the TPPs must identify whatever wrongdoing by
            Wholesalers misled or harmed them. In these states, it is not enough that
            Wholesalers sold the VCDs at issue. This request, too, may be easily
            answered “none.” For example, Plaintiffs’ expert Dr. Conti
            acknowledged that the Wholesalers sold the VCDs without knowledge
            4
              TPPs cannot seek whatever portion of Wholesalers’ profits other parties
      provided, or the Wholesalers’ profits from sales that did not involve a TPP.
      Thus, it is critical that the TPPs describe what Transactions involved which
      Wholesaler, and what portion of that Wholesaler’s profits the TPP did provide
      and does seek.
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            of any alleged impurities or contamination. See Conti Deposition,
            February 11, 2022, Tr. 114:10-18. As such, Wholesalers are entitled to
            either any documents reflecting their alleged wrongdoing, if any, or a
            firm answer of “none” from the TPP Plaintiffs themselves.

         5. Damages to the TPPs: UE, as an equitable claim, inherently requires
            the jury to assess the equities between the parties—e.g., what amount is
            unjust for the Wholesalers to retain. Under some state laws, the analysis
            is couched as what amount would be just to award to Plaintiffs versus
            what would constitute a windfall to Plaintiffs. These requests seek to: (1)
            confirm that Wholesalers’ profits are the only damages/damage model
            Plaintiffs seek; and (2) request that Plaintiffs produce documents that
            reflect any expense/cost they would have incurred regardless of the type
            of blood pressure medication provided to their insureds.

         6. Value of VCDs to TPPs and Insureds: As UE is a purely equitable
            claim, the jury will be evaluating the equities between the parties. Thus,
            the value of what Wholesalers provided to the TPPs is critical to the
            assessment of what portion of Wholesalers’ profits it is allegedly unjust
            for the Wholesalers to retain. TPP Plaintiffs claim in the UE action the
            VCDs were worthless.5 The Court has left that determination to the jury.
            Dkt. 2261 at 22-23; 91.

            5
              Worthlessness, in the sense of damages for breach of warranty or other
      contract claims, might be considered in terms of whether the buyer would have
      purchased the goods at all had he known of the alleged impurity. In the
      equitable claim of UE, however, the TPPs and Consumer Plaintiffs have
      already received and retained a benefit from the VCDs despite any alleged
      impurity, and that consumption and retention of benefit must be included in the
      determination of what profit it is “just” for Wholesalers to retain. Plaintiffs are
      free to continue to argue worthlessness, but Wholesalers must be permitted to
      argue the value consumed, retained, and from which TPPs have benefitted from
      the Wholesaler-provided VCDs in order to justify their retention of any portion
      of profits provided by the TPPs, as sought in these requests.
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            There are a variety of ways to value the VCDs to the TPPs: (1) the VCDs
            allowed the TPPs to fulfill their contractual obligations to their insureds;
            (2) the VCDs provided therapeutic benefit to the TPP insureds, thus
            enhancing the value of the TPPs’ business; and (3) the VCDs allowed
            the TPPs to earn profits from each transaction in which a VCD was
            covered for an insured. Any TPP documents reflecting the value of these
            VCDs to the TPPs are critical to the UE defense of the Wholesalers.
            Wholesalers need to be able to demonstrate the profits earned by the
            TPPs to enable a fair assessment of the equities and the appropriate
            parties entitled to the profits made by Wholesalers.

            This discovery is also important for the unclean hands affirmative
            defense. The crux of the Plaintiffs’ case is that Wholesalers unknowingly
            sold allegedly impure VCDs to the TPP insureds, which the TPPs paid
            for and from which Wholesalers in turn profited. It is one of
            Wholesalers’ core defenses that the TPPs did exactly the same thing:
            the TPPs unknowingly provided and paid for through their contractual
            arrangements allegedly impure VCDs from which the TPPs profited both
            by individual transaction and through overall contractual dealings and
            payments between the TPPs and the Plans and insureds. Whether that
            fact is called unclean hands, lack of damage, or lack of causation, it forms
            the basis of a Wholesaler defense to the case.

      Unfortunately, despite Wholesalers’ efforts in the meet and confers to explain
      the above relevance of their requests to Plaintiffs, Plaintiffs have taken the
      position they will not answer a single request:

            Putting aside that the Court did not order any supplemental
            discovery of Plaintiffs, a number of the proposed requests or
            topics are redundant of prior data and information produced by
            Plaintiffs or are too far afield to the issues remaining in this case.
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      Ex. A, 5/2/2023 D. Stanoch Letter to Wholesalers regarding Plaintiffs’ Position
      on Discovery, at 2.

      To help bridge the gap, Wholesalers have told Plaintiffs that if they identify
      purportedly redundant requests by reference to Bates numbers of responsive
      documents already produced, Wholesalers will withdraw those requests.
      Plaintiffs still refuse. As the Court is well aware, Judge Schneider deferred
      financial discovery from Wholesalers at the time Plaintiffs first sought it
      because it was premature in light of the “core” discovery being conducted to
      support/oppose class certification. Plaintiffs have now chosen UE, the one
      claim out of the nine originally pled, on which they wish to proceed against
      Wholesalers in numerous subclass trials. And Plaintiffs have now begun their
      requests for substantial additional discovery from Wholesalers, including
      financial information, transactional data, and custodial discovery discussed
      infra. But Plaintiffs have yet to produce the promised foundational traceability
      information for their claims—which Wholesaler sold the VCDs at issue in each
      transaction for which they seek to recover—and for which they bear the burden
      of proof. Wholesalers’ discovery requests go to the heart of the prima facie
      elements of and defenses to the UE cause of action, but Plaintiffs categorically
      refuse to provide any discovery to Wholesalers on their UE claim. Wholesalers
      have fundamental due process rights to the discovery that will assist them in
      their defense. This Wholesaler discovery to Plaintiffs should be ordered.

      To that end, the parties have agreed to request from Judge Vanaskie a briefing
      schedule related to the Wholesalers’ discovery. Wholesalers propose the
      following: within 30 days of the May 17, 2023, discovery conference, the
      parties shall file opening letter briefs on any written discovery that remains in
      dispute at that time. The parties may file responsive letter briefs within 14 days
      of the filing of opening briefs. Each side may file a reply brief limited to two
      pages no later than three days after the responsive briefs are filed.
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                 Plaintiffs’ Request for “Targeted” Custodial Discovery

       In response to Plaintiffs’ request for “some targeted custodial discovery” of
       Wholesalers (3/29/23 Tr. at 32:2-3) at the March 29, 2023 hearing and
       Plaintiffs’ April 12, 2023 letter requesting “limited fact and expert discovery
       of Wholesalers” (Dkt. 2338 at p. 4), the Court issued CMO 32 and ordered
       “further targeted discovery and depositions of wholesaler custodians.” Dkt.
       2343, section 7.2. Pursuant to the directive of the Court at the April 26, 2023
       status conference, Wholesalers met and conferred with Plaintiffs’ counsel to
       discuss the parameters of any such custodial discovery, including appropriate
       search terms and custodians. There is no dispute related to custodial discovery
       currently ripe for resolution by the Court, as the parties continue to work
       together on this issue.

       So far, Plaintiffs’ discovery requests have not been “targeted.” First, Plaintiffs
       requested that Wholesalers conduct custodial searches using the search terms
       previously agreed upon with the Manufacturer Defendants. The search terms
       previously negotiated with Manufacturer Defendants are improper for
       Wholesalers’ custodial collections and productions. Many of those search
       terms are directed to the manufacture of VCDs and the procedures and
       processes associated with the manufacture of VCDs. This is particularly true
       for the specific sets of search terms that Wholesalers understand Plaintiffs
       negotiated with individual Manufacturer Defendants. Wholesalers do not
       manufacture VCDs, nor do they engage in testing the content of any
       pharmaceutical medications they distribute, including VCDs. As such,
       Wholesalers’ use of all of the search terms negotiated with the Manufacturer
       Defendants collectively and/or individually is not targeted to Wholesalers and
       will result in the unnecessary collection of documents that are irrelevant and
       unrelated to Wholesalers’ distribution of VCDs.

       Plaintiffs invited Wholesalers to propose a list of Wholesaler-specific proposed
       terms for consideration. Ex. A, 5/2/2023 D. Stanoch Letter to Wholesalers
       Regarding Plaintiffs’ Position on Discovery, at 2. Thus, Wholesalers are in the
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       process of formulating a proposal on search terms, and the parties will be
       prepared to update the Court as to progress at the next status conference.

       Second, Plaintiffs made a non-targeted proposal with respect to categories of
       individuals that they suggest would be “the appropriate custodians” for
       custodial document collections. Plaintiffs’ proposal includes persons
       responsible for alleged functions such as “sourcing of VCDs,” “quality
       oversight of VCD suppliers,” the handling of recalls of VCDs,” and “inventory
       management.” However, to the extent those functions exist, they do not have
       anything to do with Plaintiffs’ sole remaining claim against the Wholesalers for
       UE. For example, a request to collect custodial documents of persons involved
       in executing the recall issued for VCDs by the Manufacturer Defendants is not
       “targeted” to Plaintiffs’ claim that Wholesalers were unjustly enriched before
       any products were recalled. The same is true for custodians in the broad
       category of “inventory management.”

       Wholesalers continue to evaluate Plaintiffs’ proposed categories of individuals,
       and Wholesalers will continue to meet and confer with Plaintiffs to attempt to
       target individual custodians who would potentially possess documents relevant
       to Plaintiffs’ UE claim. The parties will be prepared to update the Court as to
       progress at the next status conference.

                                            * * *

       In light of the foregoing, Wholesalers respectfully request that the Court enter
       a briefing schedule such that within 30 days of the May 17, 2023 discovery
       conference, the parties shall file opening letter briefs on any written discovery
       issue that remains in dispute at that time. The parties may file responsive letter
       briefs within 14 days of the filing of opening briefs. Each side may file a reply
       brief limited to two pages no later than three days after the responsive briefs
       are filed.
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       In addition, by May 30, 2023, Wholesalers will produce the invoiced amounts
       for their VCD purchases at issue in this litigation from the Manufacturer
       Defendants during the Relevant Period, and the invoiced amounts with respect
       to VCD sales to the Retailer Defendants of the NDCs at issue during the
       Relevant Period.

       The parties will continue to confer with respect to the idea of a “proxy” method
       to estimate “profits” on sales of VCDs at issue to the Retailer Defendants within
       the Relevant Period, and will report back to the Court in 45 days on their
       progress in this regard.

       Finally, the parties will continue to confer to discuss the parameters of any such
       custodial discovery, including appropriate search terms and custodians, and
       will update the Court as to progress at the next status conference.

       Very truly yours,

       /s/ Jeffrey D. Geoppinger
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       NORTON ROSE FULBRIGHT US LLP
       Counsel for McKesson Corporation

       cc: Plaintiffs’ Executive Committee
